                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                          AT GREENEVILLE


           MARCUS DEVONE COMAGE,                                )
                    Petitioner,                                 )
                                                                )
           v.                                                   )     Nos. 2:11-CR-06
                                                                )          2:14-CV-62
           UNITED STATES OF AMERICA,                            )
                     Respondent.                                )


                                    MEMORANDUM OPINION AND ORDER

           Before the Court is a pleading filed by the petitioner, Marcus Devone Comage,

(“Comage” or “petitioner”), entitled “Memorandum Of Law In Support Of Motion To Vacate,

Conviction And Sentence Under 28 U.S.C. § 2255(f)(3) & 2255(f)(4) Alleyne v. United States,

U.S. No. 11-9335,” [Doc. 118].1 Petitioner has not filed a corresponding motion pursuant to §

2255; however, the Court will construe his memorandum as a § 2255 motion. The government

has responded in opposition, [Doc. 130], and no reply has been filed by the petitioner. This

matter is ripe for disposition. The Court has determined that the files and records in the case

conclusively establish that the petitioner is not entitled to relief under § 2255 and, therefore, no

evidentiary hearing is necessary. For the reasons set forth herein, petitioner’s § 2255 motion

lacks merit, and the motion will be DENIED and the case (No. 2:14-CV-62) will be

DISMISSED.

I.         Procedural and Factual Background

           Petitioner, along with four co-defendants, was indicted by a federal grand jury on January

12, 2011, [Doc. 3]. Petitioner was charged in all five counts of the indictment. In Count One he



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     All docket numbers refer to the docket sheet in No. 2:11-CR06.

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was charged with conspiracy to distribute and possess with intent to distribute 28 grams or more

of crack cocaine in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B). In Counts Two,

Three and Four, Comage was charged with distribution of crack cocaine in violation of 21

U.S.C. §§ 841(a)(1) & (b)(1)(C). He was charged in Count Five with possession of crack

cocaine with intent to distribute in violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(B). The United

States subsequently filed an information to establish prior conviction pursuant to 21 U.S.C. §

851, giving notice of its intent to seek enhanced punishment by virtue of petitioner’s November

7, 2007 conviction for manufacture and/or delivery of 1-15 grams of cocaine. [Doc. 33]. On

May 26, 2011, petitioner gave notice of his intent to plead guilty to Count One of the indictment,

[Doc. 67], and on May 27, 2011, a written plea agreement was filed with the Court. [Doc. 68].

On the same day, petitioner pled guilty, pursuant to the plea agreement, to Count One of the

indictment, [Doc. 70]. During the change of plea hearing, petitioner admitted to the factual

stipulation contained in his plea agreement and specifically admitted that he was convicted on

November 7, 2007, of manufacture and/or delivery of cocaine in Fayette County, Illinois in case

No. 2007CF150, as alleged by the government’s information. A sentencing hearing was set and

a presentence investigation report (“PSR”) was ordered.

        On December 12, 2011, petitioner appeared before the Court for sentencing, [Doc. 103].

He was sentenced to the mandatory minimum of 120 months and the Court’s judgment, [Doc.

106], was filed on December 28, 2011. Petitioner filed no direct appeal to the Sixth Circuit

Court of Appeals. Petitioner then filed his § 2255 “Memorandum” on March 3, 2014, [Doc.

118].

II.     Standard of Review

        This Court must vacate and set aside petitioner’s sentence if it finds that “the judgment



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was rendered without jurisdiction, or that the sentence imposed was not authorized by law or

otherwise open to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .”

28 U.S.C. § 2255.      Under Rule 4 of the Governing Rules, the Court is to consider initially

whether the face of the motion itself, together with the annexed exhibits and prior proceedings in

the case, reveal the movant is not entitled to relief. If it plainly appears the movant is not entitled

to relief, the court may summarily dismiss the § 2255 motion under Rule 4.

       When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733, 735

(6th Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability of

verity, are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A

motion that merely states general conclusions of law without substantiating allegations with facts

is without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

       To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error must be

one of constitutional magnitude which had a substantial and injurious effect or influence on the

proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (citation omitted) (§ 2254 case);

Clemmons v. Sowders, 34 F. 3d 352, 354 (6th Cir. 1994). See also United States v. Cappas, 29

F.3d 1187, 1193 (7th Cir. 1994) (applying Brecht to a § 2255 motion). If the sentencing court

lacked jurisdiction, then the conviction is void and must be set aside. Williams v. United States,

582 F. 2d 1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-

constitutional error, petitioner must show a fundamental defect in the proceeding that resulted in a

complete miscarriage of justice or an egregious error inconsistent with the rudimentary demands



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of fair procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v. United States, 72 F. 3d 503,

506 (6th Cir.), cert. denied, 517 U.S. 1200 (1996). In order to obtain collateral relief under §

2255, a petitioner must clear a significantly higher hurdle than would exist on direct appeal.

United States v. Frady, 456 U.S. 152 (1982).

III.   Analysis

       Petitioner raises a single issue in this § 2255 motion. He asks the Court to vacate his

sentence and conviction in light of the Supreme Court’s decision in Alleyne v. United States, --

U.S. --, 133 S. Ct. 1251, 186 L. Ed. 2d 314 (2013). He bases his request on an allegation that his

prior conviction for a drug trafficking offense was not submitted to the jury and that judicial fact

finding was improper under the Supreme Court’s decision.            He uses virtually all of his

memorandum to address the timeliness of his motion. The United States has responded and

argues that the motion is untimely and that, in any event, petitioner’s reliance upon Alleyne is

misplaced. The Court agrees with the government.

       The motion is barred by the one-year statute of limitations contained in the Antiterrorism

and Effective Death Penalty Act, 28 U.S.C. § 2244, and no basis appears for the Court to apply

equitable tolling. But even if not time-barred, the motion clearly fails on the merits. The

Supreme Court held, in Alleyne, in a plurality decision, that “[f]acts that increase the mandatory

minimum sentence are therefore elements and must be submitted to the jury and found beyond a

reasonable doubt,” overruling its previous decision in Harris v. United States, 546 U.S. 545

(2002). Alleyne, however, is not retroactively applicable to cases on collateral review. In re

Mazzio, 756 F.3d 487, 491 (6th Cir. 2014). Even if it were, Alleyne does not require that a

defendant’s prior convictions, even where they increase the mandatory minimum, be submitted

to a jury. United States v. Nagy, 760 F.3d 45, 48 (2014) (holding that Alleyne “leaves no doubt”



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that Almendarez-Torres v. United States, 523 U.S. 224, 246-47 (1998), is still good law and

rejecting petitioner’s argument that a prior conviction is an element of the offense that must be

submitted to the jury). Furthermore, the petitioner’s knowing admission of facts necessary for an

enhanced sentence dooms his Alleyne claim. United States v. Johnson, 732 F.3d 577, 584 (6th

Cir. 2013) (“Alleyne’s extension of Apprendi [ v. New Jersey, 530 U.S. 466 (2002)] to facts that

increase a minimum statutory sentence left undisturbed our decision holding that a defendant’s

knowing admission of facts necessary for an enhanced sentence is fatal to his Apprendi claim.

See [United States v.] Yancy, 725 F.3d [596], [ ] 601 [6th Cir. 2013] (citing cases)). Therefore,

petitioner’s Alleyne claim, if not time-barred, is without merit in light of petitioner’s specific

admission of his prior conviction.

       Petitioner also attached to his memorandum a Justice Department memorandum from the

Attorney General to United States Attorneys which discusses the department’s prosecution

policy with respect Alleyne.      Petitioner makes no argument with respect to the Justice

Department memorandum. As the government points out, the memorandum creates no privately

enforceable rights. See United States v. $110,873.00 in U.S. Currency, 159 Fed. App’x 649, 653

(6th Cir. 2005) (“Department of Justice Policy directives are not binding and do not create

privately enforceable rights.”). In short, petitioner has no cognizable claim as it relates to the

Justice Department memorandum.

IV.    Conclusion

       For the reasons set forth above, the Court holds that neither petitioner’s prosecution in

this court nor his sentencing was in violation of the Constitution or laws of the United States and

he is not entitled to an evidentiary hearing. His motion to vacate, set aside or correct his sentence

pursuant to 28 U.S.C. § 2255, [Doc.118], is DENIED.



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        Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

appealability should be granted. A certificate should issue if petitioner has demonstrated a

“substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

Circuit Court of Appeals disapproves of the issuance of blanket denials of a certificate of

appealability. Murphy v. Ohio, 263 F. 3d 466 (6th Cir. 2001). The District Court must “engage

in a reasoned assessment of each claim” to determine whether a certificate is warranted. Id. at

467. Each issue must be considered under the standard set forth by the Supreme Court in Slack

v. McDaniel, 529 U.S. 473, 120 S. Ct. 1595 (2000). Id.

        Under Slack, to warrant a grant of the certificate, “[t]he petitioner must demonstrate that

reasonable jurists would find the district court’s assessment of the constitutional claims debatable

or wrong.” After reviewing each of Petitioner’s claims, the Court finds that reasonable jurists

could not conclude that petitioner’s claims are adequate to deserve further review. Because

petitioner has failed to make a substantial showing of the denial of a constitutional right, a

certificate of appealability will not issue.

        A separate judgment will enter.

        ENTER:



                                                                      s/J. RONNIE GREER
                                                                UNITED STATES DISTRICT JUDGE




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